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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

In re: TESTOSTERONE                             )
REPLACEMENT THERAPY                             )             Case No. 1:14-cv-01748
PRODUCTS LIABILITY LITIGATION                   )             MDL No. 2545
                                                )
This Document Relates To:                       )
All cases identified in Defendants’ First       )
Corrected Notice of Deficiency (ECF No. 2669-1) )

                   DEFENDANTS’ REPLY IN SUPPORT OF THEIR
                    FIRST CORRECTED NOTICE OF DEFICIENCY
                 PURSUANT TO CASE MANAGEMENT ORDER NO. 115

       Plaintiffs’ Steering Committee’s (“PSC”) Response in Opposition to the AbbVie

Defendants’ First Corrected Notice of Deficiency Pursuant to Case Management Order No. 115

(the “Response”) fails to appreciate the significance of the deficiency process as contemplated by

Case Management Order No. 115 (Cut-off Date for Supplemental Plaintiff Profile Form With

Respect to AbbVie Defendants) (“CMO 115”) (ECF No. 2519). The process for identifying

deficient Plaintiff Profile Forms (“PPF”) was intended to streamline this multidistrict litigation by

enforcing Plaintiffs’ obligations to produce supporting records to substantiate basic allegations of

product usage and injuries. As demonstrated by AbbVie’s First Notice, filed on May 16, 2018

(ECF No. 2630), and AbbVie’s Corrected Notice, filed on May 25, 2018 (ECF No. 2669), the

process is working—AbbVie identified deficient PPFs; Plaintiffs provided additional records,

amended PPFs, dismissed their cases, and/or otherwise met and conferred, and AbbVie amended

its Notice for the Court to act upon. As a result, AbbVie respectfully requests that the Court enter

an Order to Show Cause for AbbVie’s First Corrected Notice as contemplated by CMO 115.
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 I.           CMO 115’s Meet-and-Confer Process is Working

              Contrary to the PSC’s assertion that “half of AbbVie’s original deficiency allegations were

      in error,” Resp. at 1, AbbVie’s Corrected Notice, which trimmed the number of deficient PPFs

      from 374 cases to 169 cases, shows precisely that the process is working. The purpose of the meet-

      and-confer period as outlined by CMO 115 was to ensure that only true deficiencies made their

      way onto the Court’s Order to Show Cause. Of the 374 Plaintiffs on the First Notice, for example,

      11 Plaintiffs dismissed their claims entirely; 55 Plaintiffs amended their PPFs to edit their usage

      and/or injury allegations to match what was documented in their records and/or provided additional

      records; 88 Plaintiffs clarified that despite the fact that their dispensations records did not

      substantiate the full alleged usage period, they had indeed produced all pharmacy records. In the

      last set of cases, AbbVie recognizes that usage may be disputed at a later stage, but for purposes

      of CMO 115, the deficiency had been cured.

              All of this information and additional documentation was the result of the meet-and-confer

      period. Now that the three day meet-and-confer period has well passed, AbbVie requests that the

      Court issue an Order to Show Cause as contemplated by CMO 115.1

II.           This Court Should Act Upon AbbVie’s Deficiency Request

              Rather than turning the deficiency process into a mini-summary judgment proceeding,

      AbbVie has simply identified a list of cases that have failed to comply with the requirements as

      stated in the PPF and outlined by various CMOs. CMO 115 requires Plaintiffs “to ensure that they

      have submitted a PPF and required medical and pharmacy records that are substantially complete




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        As of the date of this filing, several Plaintiffs’ counsel have continued to reach out to AbbVie’s
      counsel to meet and confer on the Corrected Notice and AbbVie can provide an updated listed
      removing additional cured cases.

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in all respects in compliance with CMO 85.” CMO 115 at 2. For a PPF to be “‘substantially

complete in all respects,’ the responding Plaintiff must answer the questions contained in the PPF

to the best of his or her ability.” Case Management Order 85 (Supplemental Plaintiff Profile Form

– PPF) (“CMO 85”) (ECF No. 2295) at 2. In addition, if “Plaintiff learns that any Defendant has

been improperly named in a complaint due to lack of relevant product usage, Plaintiff will, within

21 days of submitting his PPF voluntarily dismiss that Defendant or serve a stipulation for

dismissal of that Defendant.” Id. The Court again reiterated the significance of providing a full

set of records to substantiate the alleged usage period and injury when it dismissed cases for

noncompliance with CMO 85: “the PPF required the plaintiff to produce relevant records,

including pharmacy records, regarding the dispensation to and use by the plaintiff of any TRT

product and medical records documenting the plaintiff’s claimed TRT-related injuries.” Case

Management Order No. 118 (Dismissal of cases for noncompliance with CMO 85) (“CMO 118”)

(ECF No. 2612) at 1 (emphasis added).

       Specifically regarding allegations of use, the PPF requires Plaintiffs to produce “all records

or other information that documents that you or someone on your behalf was dispensed

prescriptions and/or samples of the TRT products used by you prior to the date of your alleged

TRT-related injuries.” PPF at 2 (emphasis added). Despite this unquestionable language in the

PPF, which was language the PSC proposed and the Court adopted see Case Management Order

No. 84 (Enhancement to plaintiffs’ fact sheets; modifications to process for dealing with

deficiencies) (“CMO 84”) (ECF No. 2293) at 2, the PSC argues that PPFs are not deficient where

“plaintiffs have provided pharmacy records evidencing some but not all of the AndroGel usage

alleged in the case,” or where plaintiffs have provided medical records identifying AndroGel as a

one of Plaintiff’s medications. Resp. at 2. However, the PPF does not allow pharmacy records to

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substantiate some of the usage; it requires all records of usage prior to the alleged injuries. And

the PPF does not allow for other records simply evidencing usage; it requires records of

dispensation. See also Tr. of Nov. 30, 2017 Proceedings (ECF No. 2281) at 5:9-14 (requiring

“plaintiffs to include the dispensing information …[and to] go out and get the pharmacy records”).

       Similarly, to substantiate allegations of injuries, the PPF requires Plaintiffs to produce

“medical records that show [the] TRT-related injury.” PPF at 4. Nowhere in this language does

it allow for Plaintiffs to produce incomplete records for only one of a number of alleged injuries.

Yet, the PSC argues exactly that when it states that PPFs are not deficient where “plaintiffs provide

medical records evidencing some but not all injuries.” Resp. at 3-4.

       Without the Court’s enforcement of this deficiency process, the entire exercise is rendered

meaningless. As this Court previously noted, the requirements surrounding the PPF were imposed

“to ensure the disclosure of relevant and highly material information needed for the preparation

and litigation of the thousands of cases remaining in the MDL,” and “[t]he failure of … plaintiffs

to comply with the PPF requirements of CMO 85 amounts to an unjustified failure to produce

discovery following entry of a court order.” CMO 118 at 1-3. However, enforcing the deficiency

process does not mean AbbVie is seeking a universal summary dismissal of cases on any

deficiency list. Rather, AbbVie is seeking to enforce the requirement that Plaintiffs provide

accurate information and supporting documentation to substantiate the alleged usage period and

injuries contained in PPFs. Hundreds of Plaintiffs still have yet to provide this basic information

that the PSC agreed they should have to provide. See CMO 84 at 2 (adopting Plaintiffs’ proposed

PPF for all existing cases in the MDL).

       While several cases may be subject to dismissal after undertaking this process, dismissal

is not the only appropriate remedy where Plaintiffs have failed to provide the requisite documents.

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Other sanctions or remedies may be appropriate as well. At a minimum, however, this Court

should act upon AbbVie’s deficiency request to address the various types of deficiencies that still

remain after the meet and confer. AbbVie will clearly identify for the Court deficient cases where

records have not been provided to support the allegations contained in PPFs.2

          WHEREFORE, AbbVie respectfully requests that the Court enter an Order to Show

Cause Why the Failure to Comply by May 11, 2018 Should be Excused.



Dated: June 5, 2018
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 AbbVie continues to review PPFs and supporting records received and anticipates filing
additional deficiency notices this week.

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                                  CERTIFICATE OF SERVICE

       I, Michelle Yeary, hereby certify that on June 5, 2018, the foregoing was filed via the

Court’s CM/ECF system, which will automatically serve and send notification of such filing to all

registered attorneys of record.


                                                    /s/ Michelle Yeary
